     Case 12-44617            Doc 21   Filed 03/12/13 Entered 03/12/13 06:01:07   Desc Discharge
                                       of Debtor Chapter 7 Page 1 of 2
B18J (Official Form 18J) (12/07)

                                   United States Bankruptcy Court
                                          Northern District of Illinois
                                               Case No. 12−44617
                                                   Chapter 7

In re: Debtors (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Frank DeJulio                                  Connie DeJulio
   937 N. Grace Avenue                            937 N. Grace Avenue
   Park Ridge, IL 60068                           Park Ridge, IL 60068
Social Security / Individual Taxpayer ID No.:
   xxx−xx−6982                                    xxx−xx−6221
Employer Tax ID / Other nos.:



                                   DISCHARGE OF JOINT DEBTORS

      It appearing that the debtors are entitled to a discharge, IT IS ORDERED: The debtors are
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                        FOR THE COURT


Dated: March 12, 2013                                   Kenneth S. Gardner, Clerk
                                                        United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
     Case 12-44617           Doc 21        Filed 03/12/13 Entered 03/12/13 06:01:07              Desc Discharge
                                           of Debtor Chapter 7 Page 2 of 2
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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. A creditor who violates this
order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
